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                           IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TENNESSEE
                                     EASTERN DIVISION

__________________________________________________________________________________

                                    )
UNITED STATES OF AMERICA,          )
                                    )
            Plaintiff,             )
                                    )
VS.                                )                 CR. NO. 1:17-10082-STA
                                    )
NORISSA NICHOLE WILLIAMS,          )
                                   )
            Defendant.             )
__________________________________________________________________________________

                            ORDER ON CHANGE OF PLEA
                              AND NOTICE OF SETTING
__________________________________________________________________________________



       This cause came to be heard on December 10, 2018, Assistant United States Attorney, Hillary
Parham, appearing for the Government and the defendant, Norissa Nichole Williams, appearing in person,
and with counsel, Patrick Stegall.

       With leave of the Court, the defendant withdrew the not guilty plea heretofore entered and
entered a plea of guilty to Count 1 of the Indictment.

       A basis in fact having been established, the Court accepted the guilty plea.

       SENTENCING in this case is SET for TUESDAY, MARCH 19, 2019 at 9:00 A.M., before
Chief S. Thomas Anderson.

       Defendant to remain released on present bond.

       ENTERED this the 10th day of December, 2018.


                                                   s/ S. Thomas Anderson
                                                   CHIEF JUDGE, U. S. DISTRICT COURT
